      Case 1:21-cr-00128-RC          Document 207-1       Filed 01/30/24   Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-128 (RC)
                                             :
WILLIAM POPE,                                :
                                             :
                      Defendant.             :

                                    [PROPOSED] ORDER

       UPON CONSIDERATION of William Pope’s Motion to Dismiss (ECF 178), and for good

cause shown and the entire record herein, it is hereby

       ORDERED that William Pope’s motion is DENIED.



SO ORDERED:



________________________                                   ______________________________
Dated                                                      RUDOLPH CONTRERAS
                                                           United States District Judge
